
Pennington, J.
— 'The delivering to the justice, the evidence on which the action is founded, instead of a statement of the plaintiff’s ground of action, is not such a state of demand as the act requires. Besides, in case the instrument of writing, on which the plaintiff’s demand is founded, is filed as the state of demand, it must remain on the files of the justice’s court, after it is paid off, and cannot be delivered up to the person paying it off; from which, great inconvenience and danger [*] will result; he had given a similar opinion on a former occasion, but he believed that his brethren had doubts of the propriety of it.
Kirkpatrick, C. J.
— Said he had entertained doubts of the propriety of reversing the judgment of justices, [153] for this cause; but on mature reflection, he was inclined to think it was right; great inconvenience must ensue from filing with the justice, the note, bond, or other instrument on which the action of the plaintiff is founded.
Rossell, J. — Concurred.
Judgment reversed.
